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             EXHIBIT L
     Case 1:14-md-02542-VSB-SLC
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·1· · · · · ·IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · SOUTHERN DISTRICT OF NEW YORK

·3· ·- - - - - - - - - - - - - -x

·4· ·IN RE:· KEURIG GREEN· · · · · ·: Civil Action No.

·5· ·MOUNTAIN SINGLE-SERVE COFFEE· ·: 14-md-02542-VSB

·6· ·ANTITRUST LITIGATION· · · · · · ·MDL No. 2542

·7· ·- - - - - - - - - - - - - -x

·8

·9· ·Continued Videotaped 30(b)(6) Deposition of Keurig

10· · · · · · · Green Mountain, by Mark Wood

11· · · · · · · · Burlington, Massachusetts

12· · · · · · · · · · February 14, 2020

13· · · · · · · · · · · · 9:02 a.m.

14

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22· ·Job No.: 297947

23· ·Pages: 276 - 520

24· ·Reported By: Alan H. Brock, RDR, CRR

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·1· ·recalled by Keurig; correct?                                              15:39:07

·2· · · ·A.· I don't know that we ever had a formal                            15:39:14

·3· ·product recall, but we did take B31 back out of --                        15:39:16

·4· ·off of retail shelves.· But I don't think it was                          15:39:24

·5· ·classified as a formal recall.                                            15:39:26

·6· · · ·Q.· All right, let's show you Plaintiffs'                             15:39:28

·7· ·Exhibit 791 and see if that refreshes your                                15:39:31

·8· ·recollection.· It's entitled United States Consumer                       15:39:34

·9· ·Product Safety Commission, "Keurig recalls Mini Plus                      15:39:40

10· ·Brewing Systems due to burn hazard."· Does that                           15:39:46

11· ·refresh your recollection that Keurig on or about                         15:40:07

12· ·December 23rd, 2014, recalled the B31 brewer?                             15:40:09

13· · · · · · · ·MS. NEWTON:· Objection, form.                                 15:40:18

14· · · ·A.· Yes, this would indicate that this is                             15:40:19

15· ·something from the CPSC that indicates it was a                           15:40:24

16· ·recall.                                                                   15:40:27

17· · · ·Q.· And the hazard listed in the statement from                       15:40:29

18· ·the Consumer Product Safety Commission is, "Water                         15:40:32

19· ·can overheat during brewing, spray out, and burn                          15:40:35

20· ·consumers."· Correct?                                                     15:40:39

21· · · ·A.· Yes.                                                              15:40:41

22· · · ·Q.· Now, going back to Figure 1 -- oh, and by                         15:40:43

23· ·the way, staying with the recall:· It says the                            15:40:48

24· ·product at issue, if you look at Page 3 of 5 -- it                        15:40:53

25· ·says, "This recall involves Keurig Mini Plus Brewing                      15:40:56


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·1· ·System with Model No. K10 (previously identified as                       15:41:01

·2· ·Model No. B31)."· Correct?                                                15:41:06

·3· · · ·A.· Yes.                                                              15:41:12

·4· · · ·Q.· Okay.· Now, if you go back to Mr.                                 15:41:12

·5· ·Sullivan's test and the photo in Figure 1 showing                         15:41:15

·6· ·the delamination, it indicates in that caption that                       15:41:21

·7· ·that cup that delaminated was used in a B31 brewer;                       15:41:27

·8· ·correct?                                                                  15:41:37

·9· · · ·A.· Yes, that's correct.                                              15:41:37

10· · · ·Q.· And the other cup that you referenced, the                        15:41:43

11· ·other photograph, Figure 2, that caption says,                            15:41:44

12· ·"Photo showing lid weld failure resulting in hot                          15:41:49

13· ·water leaking from brew chamber after brewing Grove                       15:41:54

14· ·Square light roast using a B31 brewer."· Have I read                      15:41:58

15· ·that correctly?                                                           15:42:03

16· · · ·A.· You have.                                                         15:42:04

17· · · ·Q.· Now, in the declaration that Mr. Sullivan                         15:42:06

18· ·submitted to the Court seeking to take Grove Square                       15:42:16

19· ·products off the market, he nowhere told the Court                        15:42:18

20· ·that those two failures were in the B31 brewer, did                       15:42:22

21· ·he?                                                                       15:42:29

22· · · · · · · ·MS. NEWTON:· Objection, form.                                 15:42:29

23· · · ·A.· No, he didn't.· But you're making a                               15:42:31

24· ·presumption that it's the same brewer with the same                       15:42:35

25· ·internals, and it's a difference of a four-year time                      15:42:38


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·1· ·this didn't become an issue until years later, which                      15:45:20

·2· ·is why I'm referencing that there were changes made                       15:45:23

·3· ·to the brewer that affected how it operated.                              15:45:25

·4· · · · · · · ·And so to say that this was a known                           15:45:29

·5· ·thing in 2010 I think is not true.· You're                                15:45:32

·6· ·conflating brewers and time periods.                                      15:45:38

·7· · · ·Q.· Is it your testimony under oath that Keurig                       15:45:40

·8· ·had not received any burn complaints relating to the                      15:45:53

·9· ·B31 brewer prior to Mr. Sullivan's tests?· Is that                        15:46:00

10· ·your testimony?                                                           15:46:04

11· · · ·A.· I don't know that we did.                                         15:46:04

12· · · ·Q.· Let me show you what's been previously                            15:46:17

13· ·marked as Plaintiffs' Exhibit 682, which is a                             15:46:31

14· ·settlement agreement between the Consumer Product                         15:46:33

15· ·Safety Commission and Keurig.· In particular, take a                      15:46:38

16· ·look at Paragraph 7.                                                      15:46:52

17· · · · · · · ·Actually, before Paragraph 7, let's                           15:47:01

18· ·start with Paragraph 4, which reads, "Between                             15:47:04

19· ·December 2009 and December 2014, Keurig imported and                      15:47:09

20· ·offered for sale in the United States approximately                       15:47:13

21· ·6.6 million Keurig Mini Plus Brewing Systems (model                       15:47:17

22· ·K10, previously identified as Model B31) ('Brewers'                       15:47:23

23· ·or 'Subject Products')."                                                  15:47:31

24· · · · · · · ·Then if you look at -- have I read that                       15:47:38

25· ·correctly?                                                                15:47:41


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·1· · · ·A.· Yes.                                                              15:47:41

·2· · · ·Q.· And then if you look at Paragraph 7, it                           15:47:42

·3· ·says, quote, "Between February 2010 and November                          15:47:44

·4· ·2014, Keurig received approximately 200 incident                          15:47:53

·5· ·reports of hot water, coffee, and coffee grounds                          15:47:56

·6· ·spraying out of the Brewers ('Incidents')."                               15:47:59

·7· · · · · · · ·So do you have any reason to doubt that                       15:48:09

·8· ·the complaints with respect to the B31 brewer                             15:48:11

·9· ·started as early as February 2010?                                        15:48:15

10· · · ·A.· This would indicate that a complaint was                          15:48:25

11· ·received at that time.                                                    15:48:26

12· · · · · · · ·THE VIDEOGRAPHER:· Excuse me?· Can you                        15:48:27

13· ·two switch microphones?                                                   15:48:31

14· · · · · · · ·(Discussion off the record.)                                  15:48:49

15· · · ·Q.· And Keurig and Mr. Sullivan decided for                           15:49:04

16· ·themselves that the Court didn't need to know about                       15:49:06

17· ·those complaints, which had started many months                           15:49:09

18· ·earlier before his declaration; correct?                                  15:49:13

19· · · · · · · ·MS. NEWTON:· Objection, form.                                 15:49:17

20· · · ·A.· It wasn't a consideration at that time                            15:49:22

21· ·because we didn't have incidents of that happening                        15:49:26

22· ·where we thought there was a potential problem with                       15:49:38

23· ·the brewer back in 2010.                                                  15:49:43

24· · · ·Q.· Really?· So incidents of people getting                           15:49:47

25· ·injured by hot water because of the B31 brewer you                        15:49:50


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